381 F.2d 382
    Truman Adonis WILLIAMS, Appellant,v.UNITED STATES of America, Appellee.
    No. 21347.
    No. 21347-A.
    United States Court of Appeals Ninth Circuit.
    July 31, 1967.
    
      Appeals from the United States District Court for the District of Montana; W. J. Jameson, Judge.
      Louis Forsell, Billings, Mont., for appellant.
      Moody Brickett, U. S. Atty., Arthur W. Ayers, Jr., Asst. U. S. Atty., Billings, Mont., for appellee.
      Before BARNES and MERRILL, Circuit Judges, and VON DER HEYDT*, District Judge.
      PER CURIAM.
    
    
      1
      These are companion forma pauperis appeals from two different jury trials in the United States District Court for the District of Montana, Billings Division.
    
    
      2
      No. 21,347-A relates to a conviction for transportation of a motor vehicle in interstate commerce, knowing the same to have been stolen. (18 U.S.C. § 2312.)
    
    
      3
      No. 21,347 relates to a conviction for transporting a firearm in interstate commerce, the bearer having been convicted of a felony. (15 U.S.C. § 902(e).)
    
    
      4
      The appeal in No. 21,347-A was apparently abandoned, since no mention was made of it in briefs or in oral argument. The alleged errors relied upon in No. 21,347 were carefully heard and determined by the trial judge adversely to appellant's position on a motion for judgment of acquittal, heard after the jury's vote to convict.
    
    
      5
      We refer to and adopt the Order and Memorandum Opinion of Judge Jameson appearing in 254 F.Supp. 199 (D. Mont. 1966)
    
    
      6
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Hon. James A. von der Heydt, United States District Judge, Anchorage, Alaska
      
    
    